                                                                     FILED
Case 5:08-cr-00168-VAP Document 125 Filed 10/13/21 Page 1 of 2 Page ID #:780
                                                           CLERK, U.S. DISTRICT COURT



                                                               
                                                         CENTRAL DISTRICT OF CALIFORNIA

     1                                                        ' %URZQ
                                                           BY: ___________________ DEPUTY




     2

     3

     4                            UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
     5
         UNITED STATES OF AMERICA,                 )     Case No.: 5:08-CR-00168-VAP-1
     6                                             )
                                                   )
     7                                Plaintiff,   )     ORDER OF DETENTION PENDING
                            v.                     )     FURTHER REVOCATION
     8                                                   PROCEEDINGS
                                                         (FED.R. CRIM. P.32.1(a)(6); 18
     9 RAMON RODRIGUEZ,                            )     U.S.C. § 3143(a) (1))
                                     Defendant. )
    10                                          )

    11
                  The defendant having been arrested in this District pursuant to a warrant
    12
         issued by the United States District Court for the Central District of California for
    13
         alleged violation(s) of the terms and conditions of probation or supervised release;
    14
         and
    15
                  Having conducted a detention hearing pursuant to Federal Rule of Criminal
    16
         Procedure 32.1 (a)(6) and 18 U.S.C. § 3143(a) (1), the Court finds that:
    17
         A. (;)      The defendant has not met his/her burden of establishing by clear and
    18
                     convincing evidence that he/she is not likely to flee if released under
    19
                    18 U.S.C. 3142(b) or (c). This finding is based on the following:
    20
                    (;) information in the Pretrial Services Report and Recommendation
    21
                    (;) information in the violation petition and report(s)
    22
                    ( ) the defendant’s nonobjection to detention at this time
    23
                    (;) other: $OOHJDWLRQV LQ WKH SHWLWLRQ LQFOXGLQJ DEVFRQGLQJ IURP VXSHUYLVLRQ
    24                         PHQWDO KHDOWK LVVXHV VXEVWDQFH DEXVH LVVXHV
         and/or
    25

    26

    27
         B. (;)     The defendant has not met his/her burden of establishing by clear and
    28
Case 5:08-cr-00168-VAP Document 125 Filed 10/13/21 Page 2 of 2 Page ID #:781


     1         convincing evidence that he/she is not likely to pose a danger to the safety

     2        of any other person or the community if released under 18 U.S.C. §

     3 3142(b) or (c). This finding is based on the following:

     4        (;) information in the Pretrial Services Report and Recommendation

     5        (;) information in the violation petition and report(s)

     6        ( ) the defendant’s nonobjection to detention at this time

     7       (;) other: $OOHJDWLRQV LQ WKH SHWLWLRQ WZR QHZ FULPLQDO FRQYLFWLRQV ZKLOH RQ
                        VXSHUYLVLRQ FULPLQDO KLVWRU\
     8

     9 IT THEREFORE IS ORDERED that the defendant be detained pending the further

    10 revocation proceedings.

    11

    12 DATED: October 13, 2021
                                                             KENLY KIYA KATO
    13                                                UNITED STATES MAGISTRATE JUDGE

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
